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                        IN THE SUPREME COURT
                          STATE OF GEORGIA

             ___________________________________________

                         CASE NO. __________
             ____________________________________________

                           STATE OF GEORGIA,

                                  Petitioner,

                                       v.

                           RONALD BARTLETT

                            Respondent.
__________________________________________________________________

      On Petition for Writ of Certiorari to the Court of Appeals of Georgia,
                     Court of Appeals Case No. A19A0426
__________________________________________________________________

               PETITION FOR WRIT OF CERTIORARI
__________________________________________________________________


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                     PETITION FOR WRIT OF CERTIORARI

         THE STATE OF GEORGIA, through K. David Cooke, Jr. District Attorney

for the Macon Judicial Circuit, or his duly appointed assistant, petitions this Court

for a writ of certiorari to review the June 25, 2019, decision of the Georgia Court

of Appeals in Case No. A19A0426, which reversed a jury’s conviction of Ronnie

Bartlett for commercial gambling, possession of a gambling device, and keeping a

gambling place.1 The Court of Appeals denied the State’s Motion for

Reconsideration on July 15, 2019. This Court should grant a writ of certiorari,

clarify the meaning of the statutes at issue, and remand this case to the Court of

Appeals for a review under the correct interpretation of the gambling statutes.

                           PRELIMINARY STATEMENT

         What is the constitutional limit of “legal gambling” in Georgia? Before the

Court of Appeals decision below, this was thought to be a settled question; but the

opinion below creates confusion about the distinction between legal and illegal

gambling, and casts doubt on the constitutionality of the limits of “legal gambling”

purportedly allowed under the gambling statutes. The decision upsets a deliberate

and delicate compromise in the laws on permissible gambling in Georgia.

         Georgia law allows for Lottery games, which are games of chance overseen

by the Lottery and certain charitable bingo games and raffles. Georgia law also


1
    A copy of the Court of Appeals decision is attached to this Petition as Exhibit A.
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allows gambling for limited-value, non-cash prizes and free plays of games. For

example, playing skeeball or air hockey and winning more plays or tickets

redeemable for plastic toys and stuffed animals at Dave & Busters and Chucky

Cheese is allowed. The law as applied to these types of games is not in dispute.

      What is unclear now is whether machines with matchup or lineup games that

require a nudge of a wheel to stop the game and line up the pictures on a screen

(“lineup game machines”) are allowed to operate in Georgia when a player

receives cash payouts for successful plays on these machines. These machines are

typically found in convenience stores or store fronts, meaning stores that purport to

be convenience stores, but are merely home to multiple lineup game machines.

      Lineup game machines are often called “coin operated amusement

machines” (“COAM”). “COAM,” however, is not a defined phrase and does not

refer to anything authorized under Georgia law. Only “bona fide COAMs”

(“BFCOAMs”) are so defined and authorized. A “bona fide coin operated

amusement machine” is defined as a machine played for amusement that requires

at least some user skill and may lead to no award or the award of non-cash prizes

for successful plays. O.C.G.A. § 50-27-70(b)(2)(A). Courts have assumed that

lineup game machines qualify as BFCOAMs as long as players of those machines

do not receive cash payouts for successful plays. Considering the Court of




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Appeals’ decision and reviewing the statutory scheme, this assumption is now in

doubt and requires clarification from this Court.

      Before the Court of Appeals’ decision, the lines were clear: offering lineup

game machines for play was lawful as long as players were not given cash payouts

for successful plays. If players received vouchers for non-cash merchandise or free

plays, operation of the machines was legal and those who operated or profited from

such machines were not subject to prosecution under the commercial gambling

laws. However, if players did receive cash payouts for successful plays (or if other

specified lines were crossed), then operation of the machines was not legal and

those who operated or profited from such machines were subject to the full force of

the commercial gambling laws—meaning the State could charge owners and

operators of the machines with possession of a gambling device and keeping a

gambling place.

       Below, the Court of Appeals erred when it held that people who operate or

profit from lineup game machines are exempt from prosecution under the

commercial gambling statutes even when players receive cash for successful plays

of their machines. The three-judge panel below found that if a successful player of

a lineup game machine received a cash payout, the State could not charge the

owner or operator of that machine with possession of a gambling device or keeping

a gambling place.


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      Instead, the panel held that the only person who could possibly be charged

with any crime is the person who physically hands the cash to a successful player.

And that person (who may or may not be the owner or operator of the machine or

proprietor of a massive illegal gambling operation) would only be guilty of a

misdemeanor. Indeed, under the Court of Appeals’ opinion, the owner or operator

of the lineup game machines could continue to operate the machines, allow new

employees to make cash payouts, and continue to profit from players inserting

money into the machines for the chance to win cash. This is exactly the opposite

of what the Legislature prescribed. Moreover, the Court of Appeals assumed

(without analysis) that lineup game machines qualify for classification as

BFCOAMs in the first place.

      The Court of Appeals’ decision conflicts with existing Georgia Supreme

Court precedent, other panel decisions from the Court of Appeals, and other

statutes. Until the decision below, case law was clear that if a person gives cash

payments for successful plays on the lineup game machines, then use of the

machines was illegal and the operators and owners were subject to the full force of

the commercial gambling statutes. And if the Court of Appeals is correct that the

gambling statutes provide no punishment of those who purposefully offer the

public illegal gambling on lineup game machines by facilitating cash payments for




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successful plays, are those statutes constitutional given the Georgia Constitution’s

prohibition on casino gambling?

       NECESSITY FOR THE GRANT OF WRIT OF CERTIORARI

      This case is not about one gambling conviction. It is about the extent to

which gambling is allowed in Georgia, the confines of which are of great concern,

gravity, and importance to the public. Citizens must know what is legal and what

is illegal, so they do not break the law, and businesses need to know the limits on

the play of lineup game machines. A three-judge panel of the Court of Appeals

issued an opinion that re-writes statutory law, conflicts with Georgia Supreme

Court precedent, creates unconstitutional results, and causes confusion about the

type and extent of lawful gambling in Georgia. This Court should review the

decision and clarify the law.

      The Court of Appeals essentially rewrote Georgia’s commercial gambling

statutes to allow gambling for cash on lineup game machines in Georgia by taking

away the ability to prosecute those who offer such illegal gambling to the public.

The decision conflicts with precedent from this Court. The Court of Appeals

cannot re-write statutes or ignore precedent from this Court, and neither the

Legislature nor the Court of Appeals can offend Georgia’s Constitution, and any

statute or decision allowing illegal gambling does just that. The Court of Appeals’

mistake removes any meaningful punishment for illegal gambling on lineup game


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machines and puts the public at harm to the increased ills that naturally flow from

illegal gambling—all without legislative action or the citizens’ approval of a

constitutional amendment to allow gambling in our State.

      If the Court of Appeals’ misinterpretation stands, then law enforcement

cannot effectively punish owners or operators of illegal gambling operations. Law

enforcement could not arrest the owners or operators of lineup game machines

unless they were also the people who physically paid out cash for successful plays

on an otherwise BFCOAM. Thus, owners and operators of otherwise BFCOAMs

can knowingly allow their employees to pay out cash for successful plays on those

machines and only the employee is subject to any criminal liability, and then only a

misdemeanor.

      If the Court of Appeals’ misinterpretation stands, then the commercial

gambling statutes allow unconstitutional casino gambling in this State as long as

the gambling is done on a BFCOAM—even though once cash is paid for

successful plays on any machine, the machine no longer qualifies as a BFCOAM.

Unconstitutional statutes cannot stand.

      This Court should not allow a decision to stand that will subject Georgia

citizens to the extreme harms that flow from illegal gambling without a vote to

change the state constitution and willingly accept these harms. Further, this Court




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should not allow a decision to stand that takes away the Legislature’s ability to

pass laws to keep its citizens protected from those harms.

                       STATEMENT OF JURISDICTION

      This Court “has jurisdiction to review any decision of the Court of Appeals

by certiorari so long as the criteria of the writ are satisfied.” Taylor v. State, 277

Ga. 764, 764 (2004); see also Ga. Const. art. VI, § VI, ¶ V (“The Supreme Court

may review by certiorari cases in the Court of Appeals which are of gravity or

great public importance); O.C.G.A. § 5-6-15.

          STATEMENT OF FACTS AND PROCEEDINGS BELOW

      Defendant Bartlett co-owned Captain Jack’s Crab Shack (“Captain Jack’s”),

located in Byron, Peach County, Georgia. Bartlett v. State, No. A19A0426 at 2

(Ga. Ct. App. June 25, 2019), reconsideration denied (July 15, 2019). Captain

Jack’s included a game room with nine lineup game machines. Id. In early 2015,

Sergeant Melanie Bickford with the Byron Police Department began to investigate

Captain Jack’s after receiving complaints of illegal gambling. Id. Another officer,

Christine Welch, helped with the undercover work of the investigation. Id.

      Officer Welch visited Captain Jack’s six times in the Spring of 2015. Id. at

3. Her task was to play the machines to see if she would receive cash payouts. Id.

She recorded her visits. Id. On each visit, Officer Welch inserted money in a

machine, chose which games to play, and placed a wager. Id at 3-4. After


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spinning the wheels, she pressed a separate button to lower one of the wheels to

attempt to make three matches across the middle of the screen. Id.2 When she

finished her play, she pushed the button to end the game session and then went to

the bar where the bar attendant gave her a certificate for her accumulated credits.

Id. She took the certificate to the register at the front of Captain Jack’s where she

received a minimal-value lottery ticket and the remaining amount in cash. Id. It is

undisputed that she was paid out in cash during each of her six trips. Id.

      Based on the investigation, the State issued a warrant to search Captain

Jack’s in May of 2015 and seized the nine game machines. Id at 4. The State

charged Bartlett in October 2016 with Georgia RICO Act violations, commercial

gambling, possession of a gambling device, keeping a gambling place, and false

writings. Id.

      During trial, customer Karen Briscoe also testified about the use of the

machines. Id at 4-5. Briscoe testified that she played the machines and redeemed

her winnings for a combination of lottery tickets, meal vouchers, and cash. Id.

Christopher Edwards, an expert in forensic accounting, examined Captain Jack’s

business records and testified that he identified $4,400,000 in cash received via the

machines from October 2013 through May 2015, with $2,400,000 unaccounted for

2
 The State’s case included testimony that the machines did not require a skilled
“nudge” to complete all plays. Id. at 4. The Defendant disputed this testimony.
Resolution of this conflict is not required to examine and reverse the decision
below.
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in the records. Id. at 6. He concluded that Captain Jack’s must have paid out cash

to players. Id. The State also introduced evidence of prior cash payouts through

the testimony of Sergeant Ashley Greer. Id at 6-7.

      After the State’s presentation, the Defendant moved for a directed verdict,

which the trial court denied. Defendant then presented evidence of several expert

witnesses, including Nick Farley and Mark Nizdil. Id at 7. Farley testified about

testing, certification, and compliance of the machines. Id at 7-8. Nizdil testified

about how the machines communicate financial data to the Georgia Lottery

Corporation (“GLC”). Id. at 8-9.

      After considering the evidence, the jury convicted Bartlett of commercial

gambling, possession of a gambling device, and keeping a gambling place. Id at 9.

Defendant was sentenced to a prison term of five years (two years in confinement).

Id. Defendant filed his Notice of Appeal on March 21, 2018. On June 25, 2019,

the Court of Appeals reversed the conviction, finding that the trial court erred in

denying Defendant’s motion for a directed verdict because no felony conviction

was possible for making cash payouts. Id. at 15.3 The Court of Appeals denied

the State’s Motion for Reconsideration on July 15, 2019.4



3
  The Court of Appeals should have also upheld the verdict because of testimony
that a skilled “nudge” was not always required to complete machine plays.
4
  A copy of the Court of Appeals’ denial of the motion for reconsideration is
attached to this Petition as Exhibit B.
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                        ENUMERATION OF ERRORS

      1.    The Court of Appeals erred when it incorrectly interpreted O.C.G.A. §

16-12-35 to limit the possible punishment for cash payouts following successful

play on lineup game machines to a misdemeanor against the person physically

making the cash payouts. When a player receives a cash payout for a successful

play on a lineup game machine, the use of the machine loses the safeguard that

prevents prosecutions, including felonies, under the gambling statutes.

      2.    The Court of Appeals erred when it assumed—without analysis—that

lineup game machines were bona fide coin operated amusement machines. The

three-judge panel failed to consider that a lineup game machine cannot qualify as a

BFCOAM if cash is offered as a reward for successful plays of the machine, and

this Court should examine whether a lineup game machine can ever qualify as a

BFCOAM.

      3.    The Court of Appeals erred when it held that despite cash payouts to

players of lineup game machines, owners and operators could continue to operate

the machines without punishment for operating a gambling place. This is an

unconstitutional result because it condones casino gambling, which violates the

Georgia Constitution.

      4.    The Court of Appeals erred when it issued an opinion that conflicted

with Georgia Supreme Court precedent and other panel decisions from the Court of


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Appeals. Before the three-judge panel below, the law was clear that cash payouts

for successful plays on lineup game machines opened the machines’ owners and

operators to prosecution under the gambling statutes.

      5.     The Court of Appeals erred when it interpreted O.C.G.A. § 16-12-35

in a way that conflicted with other statutes and rendered them superfluous. Courts

cannot re-write statutes to render other statutes worthless.

      6.     The Court of Appeals erred when it interpreted the gambling statutes

in a way that undercuts the purpose of the statutes and creates absurd results.

               ARGUMENT AND CITATION TO AUTHORITY

      The Court of Appeals misapplied and misinterpreted O.C.G.A. § 16-12-35.

In so doing, the three-judge panel made the statute unconstitutional, issued an

opinion that conflicts with Georgia Supreme Court precedent and other statutes,

and created the potential for absurd results.

   1. The Court of Appeals Erred When It Found That Cash Payouts for
      Successful Plays on Lineup Game Machines Only Lead to Misdemeanor
      Charges Against Those Who Physically Make the Payouts.

      The Court of Appeals erred in finding that O.C.G.A. § 16-12-35(e) through

(g) provides the exclusive remedy when a player receives cash for a successful

play on a lineup game machine. See Bartlett, No. A19A0426 at 13-15. The Court

of Appeals should not have foreclosed the possibility that this conduct could also

provide an evidentiary basis for separate violations of Georgia’s other gambling


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laws if the illegal conduct meets the elements for those separate offenses, including

O.C.G.A. §§ 16-12-22(a)(1), 16-12-24(a), and 16-12-23(a).

      The language in the misdemeanor sections (O.C.G.A. § 16-12-35 (e) through

(g)) does not itself foreclose prosecution under the commercial gambling statutes

in addition to a misdemeanor prosecution. This panel of the Court of Appeals

cannot rewrite the statutes to impose an exclusivity provision that does not exist in

the language of those sections. See State v. Fielden, 280 Ga. 444, 448 (2006)

(“[The] Court does not have the authority to rewrite statutes.”).

      Further, the Court of Appeals’ conclusion is not supported by a fair reading

of Georgia’s gambling laws. A “gambling device” is defined as anything that

allows a player to exchange something of value for the chance to win something of

value, whether or not that something is money:

      “Gambling device” means [a]ny contrivance which for a consideration
      affords the player an opportunity to obtain money or other thing of
      value, the award of which is determined by chance even though
      accompanied by some skill, whether or not the prize is automatically
      paid by contrivance.

O.C.G.A. § 16-12-20(2)(A).5

      Lineup game machines—even those operating legally—qualify as gambling

devices because they offer players the opportunity to obtain things of value (e.g.,

free replays, merchandise, and other noncash redemption options), and the award

5
  There are three additional types of “gambling devices” as defined by the statute.
See O.C.G.A. § 16-12-20(B) through (D).
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received is determined by chance even though the machine games involve an

element of skill. See Patel v. State, 341 Ga. App. 419, 420 (2017), cert.

dismissed (Oct. 16, 2017) (acknowledging that the machines, even those compliant

with Georgia law and the GLC’s regulations, are technically gambling devices);

O.C.G.A. §§ 16-12-20(2)(A) (defining gambling devices); 50-27-70 (b)(2)(A)

(defining BFCOAM); 50-27-70 (b)(4) (defining Class B machine).

      Our Constitution prohibits gambling, as do our penal statutes. Ga. Const.

art. I, § 2, ¶ VIII; O.C.G.A. §§ 16-12-20 et. seq. Despite these prohibitions, the

Legislature has specifically defined how “a coin operated game or device designed

and manufactured for bona fide amusement purposes” may be used without risking

prosecution under the gambling laws. See O.C.G.A. § 16-12-35(b), (c), and (d).

      Section 16-12-35(d)(1) provides a narrow safe harbor for use of BFCOAMs:

“Nothing in this part shall apply to a coin operated game or device designed and

manufactured only for bona fide amusement purposes which involves some skill in

its operation if it rewards the player exclusively with [noncash award

options].”6 O.C.G.A. § 16-12-35(d)(1) (emphasis added) (this statute is referred to

herein as “safe harbor”). In other words, lineup game machines are gambling


6
 Besides not allowing for cash payouts, the statute also requires that machine play
must involve “some skill” to qualify as a BFCOAM. The State disputes that the
machines here met the “some skill” requirement. But resolution of that issue is
unnecessary for a review of this case to correct the interpretation of Georgia’s
gambling laws.
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devices that “have been permitted to operate in this state only by the grace of the

[L]egislature.” All Star, Inc. v. Georgia Atlanta Amusements, LLC, 332 Ga. App.

1, 11 (2015). Lineup game machine operators lose this grace when they fail to

meet any one of the requirements of O.C.G.A. § 16-12-35, including making cash

payouts.

         The safe harbor of O.C.G.A. § 16-12-35(d) shields the use of BFCOAMs

from Georgia’s gambling laws governing the use of gambling devices. If the use

of these machines does not match the plain restrictions prescribed by the safe

harbor, those who own or operate the machines lose the protection it affords.

Because payment of money for successful plays does not comport with the clear

restrictions placed on the use of BFCOAMs, making such payments negates the

exception to prosecution under the gambling laws otherwise afforded by the safe

harbor. As a result, the payment of money for winning plays on BFCOAMs may

constitute evidence of other, separate violations of Georgia’s gambling laws,

including those statutes with which the State charged the Defendant. For example,

a defendant could be found guilty of intentionally operating and participating in the

earnings of a gambling place under O.C.G.A. § 16-12-22. This is true on top of

him or others being guilty of a misdemeanor for physically paying out cash for

plays.




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      The Court of Appeals misconstrued the law and did not consider that

payments of money for winning plays could be evidence of other violations of

Georgia’s gambling laws—separate and apart from the misdemeanor offenses.

There is no exclusivity provision in the misdemeanor statutes that preclude the

State from charging under the commercial gambling statutes and the Court of

Appeals cannot insert one. See Fielden, 280 Ga. at 448. Thus, the Court of

Appeals prematurely concluded its analysis of whether there was sufficient

evidence to uphold the jury’s convictions under the commercial gambling statutes.

Bartlett, No. A19A0426 at 15. (“Thus, where the State chose not to charge Bartlett

with a misdemeanor under O.C.G.A. § 16-12-35(e), (f), or (g), but instead elected

to charge him under the commercial gambling statutes that [BF]COAMs are

specifically exempted from, the evidence was insufficient as a matter of law to

convict him of Counts 5, 6, and 7.”).

   2. The Court of Appeals Erred When It Assumed—Without Analysis—
      that the Lineup Game Machines could qualify as BFCOAMs in the First
      Place.

      The courts have historically assumed that lineup game machines could

qualify as BFCOAMs without analyzing whether these types of machines meet the

statutory definition of a BFCOAM. As discussed above, even if a lineup game

machine can qualify as a BFCOAM, it can lose that qualification if successful

players of those machines receive cash payouts. But this Court should consider


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whether a lineup game machine—even without cash payouts for successful

plays—can meet the definition of a BFCOAM in the first place.

      A BFCOAM is a machine used by the public for amusement that provides

no awards at all or provides lawful awards (i.e., non-cash merchandise or free

replays) to successful players:

      “Bona fide coin operated amusement machine” means every machine
      of any kind or character used by the public to provide amusement or
      entertainment whose operation requires the payment of or the
      insertion of a coin, bill, other money, token, ticket, card, or similar
      object and the result of whose operation depends in whole or in part
      upon the skill of the player, whether or not it affords an award to a
      successful player pursuant to subsections (b) through (g) of Code
      Section 16-12-35 [free replays or non-cash merchandise not exceeding
      $5.00 per play], and which can be legally shipped interstate according
      to federal law.

O.C.G.A. § 50-27-70(b)(2)(A).7 The definition of BFCOAM also includes a non-

exclusive list of examples of what constitutes a BFCOAM. Id. Lineup game

machines are not on the enumerated list of examples.

      Along with the examples, the list includes “[a]ny other similar amusement

machine which can be legally operated in Georgia.” Id. at (xxv) (emphasis added).

Even a lineup game machine for which a successful player does not receive a cash


7
  Below, Bartlett argued that the “whether or not it affords an award to a successful
player” language in this definition means that even if cash payouts are allowed, the
machine is a BFCOAM. That argument is wrong considering the next part
modifies “award” with “pursuant to 16-12-35(b) through (g),” which means the
award must not be cash. If this definition were read to allow cash payouts, the
statute would be unconstitutional. See Section C below.
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payout is not “similar” to any other machine on the enumerated list, which consists

of arcade like games such as pinball, foosball, shuffleboard, skeeball, air hockey,

and racing games. Id.

      Further, the Legislature intentionally removed lineup game machines from

the enumerated list. From 1998 to 2001, the enumerated list of examples included

“[m]atchup or lineup games which require the player to use skill stops to complete

the game.” Ga. L. 1998, p. 563, § 2. The Legislature removed this enumerated

example in 2001. Ga. L. 2001, Ex. Sess., p. 312, § 3. Bartlett and countless other

defendants have argued that the skill required in the lineup game machines is that a

player must “nudge” the wheel to make matching combinations of pictures on the

screen. See Brief for Appellant at 28, Bartlett (No. A19A0426). That “nudge”

completes the game. Thus, these lineup game machines that require the player to

use a skilled “nudge” to complete the game are the very type of machines removed

from the enumerated list of examples of a BFCOAM in 2001. So why has the

industry been allowed to continue to operate them? An examination is in order.

   3. The Court of Appeals’ Interpretation of the Gambling Statutes is
      Unconstitutional.

      Georgia’s Constitution outlaws “casino gambling.” It states, “Except as

herein specifically provided in this Paragraph VIII, all lotteries, and the sale of

lottery tickets, and all forms of pari-mutuel betting and casino gambling are hereby

prohibited; and this prohibition shall be enforced by penal laws.” Ga. Const. art. I,
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§ 2, ¶ VIII. “Casino gambling” is defined in O.C.G.A. § 50-27-3 as a “location or

business for the purpose of conducting illegal gambling activities, but excluding

the sale and purchase of lottery ticket or shares as authorized by this

chapter.” O.C.G.A. § 50-27-3(7) (emphasis added). Thus, if a location or business

operates for the purpose of illegal gambling, that conduct violates the

Constitution’s prohibition of “casino gambling.”

      It is illegal to pay lineup game machine players cash as awards for winning

plays—this is true even if the conduct only constitutes a misdemeanor offense as

the Court of Appeals maintains. Thus, when cash payouts occur, illegal gambling

occurs. Hence, where locations or businesses purposely operate to provide cash

payments as awards for successful lineup game machine plays, casino gambling

occurs.

      If the statute does not allow punishment of the machine owner or operator

for keeping a gambling place—possible under the Court of Appeals’ interpretation

of O.C.G.A. § 16-12-35—the statute is unconstitutional because it would allow a

location operator to run a casino gambling location without violating the law.

      This unconstitutional interpretation cannot stand. The canon of

constitutional avoidance provides that if one plausible reading of a statute would

raise “grave doubt” about the statute’s constitutionally, a court should look for

another, “fairly possible” reading that would avoid the constitutional issue. City of


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Macon v. Benson, 175 Ga. 502 (1932) (“A statute must be construed, if fairly

possible, so as to avoid not only the conclusion that it is unconstitutional but also

grave doubts upon that score.” (quoting Panama R. Co. v. Johnson, 264 U.S. 374

(1924))). Under the correct interpretation of Georgia’s gambling statues, as

discussed above, the operator of a casino gambling location would be subject to

punishment under Georgia’s gambling laws for illegally operating a gambling

place and there would be no constitutional issue with the statutory construction.

   4. The Court of Appeals Split with Prior Court of Appeals and Georgia
      Supreme Court Precedent, Creating Confusion About the Law.

      The Court of Appeal’s interpretation is inconsistent with Supreme Court

authority and at least one prior Court of Appeals decision. See State v. Singh, 291

Ga. 525, 528-29 (2012); Patel v. State, 289 Ga. 479 (2011); Patel v. State, 341 Ga.

App. 419, 419-20 (2017), cert. dismissed (Oct. 16, 2017) (hereinafter, Patel II).

The courts in these cases have recognized that the misuse of BFCOAMs through

making cash payouts can, in fact, support a prosecution for violating Georgia’s

other gambling laws if the illegal conduct meets the elements for those offenses.

This Court’s decision in Gebrekidan v. City of Clarkston, 298 Ga. 651 (2016)—the

only case cited by the Court of Appeals as justification for its analysis below—

does not support the erroneous interpretation and indeed is not relevant to the

issues of this case at all. These cases are each briefly discussed below.



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   a. Patel v. State, 289 Ga. 479 (2011)

      In a 2011 case from this Court, Patel v. State, the defendants argued, among

other things, that the machines at issue fell outside the definition of commercial

gambling. This Court noted that there was no evidence that the machines required

any skill and stated that “even property that is lawful to possess and operate can be

used to violate the law….” Patel, 289 Ga. at 485. Thus, this Court recognizes that

even if a lineup game machine could be a BFCOAM, it could lose that status if

used illegally, i.e., if cash payouts are made for successful plays on the machine.

   b. State v. Singh, 291 Ga. 525 (2012)

      In State v. Singh, a 2012 decision from this Court, the defendant argued “that

the machines at issue were legal and that the alleged illegal activity set forth in the

complaint—making cash payments for successful play—is a misdemeanor and,

therefore, does not constitute a predicate felony necessary to sustain a Georgia

RICO claim.” Singh, 291 Ga. at 528-29. That argument is much like what the

Court of Appeals held below.

      But in Singh, the trial court “refuted Singh’s argument that the complaint did

not state a claim on the basis that the machines were legal because the trial court

reasoned that legal machines could still be used for an illegal purpose. The trial

court went on to conclude that the complaint alleged felony violations

under O.C.G.A. §§ 16-12-22 and 16-12-28 and, therefore, declined to dismiss the


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complaint.” Id. On appeal, this Court sustained the trial court’s denial of the

motion to dismiss, id. at 529, because making cash payments for successful plays

on lineup game machines is a sufficient allegation in support of felony violations

under O.C.G.A. §§ 16-12-22 and 16-12-28.

      Under the Court of Appeals’ analysis, however, this Court would have

needed to reverse the trial court’s denial of the defendant’s motion to dismiss

because paying out cash for winning plays would have only been a misdemeanor

offense under O.C.G.A. § 16-12-35 (e) through (g) and such an allegation could

not have supported charges brought under O.C.G.A. §§ 16-12-22 or 16-12-28.

   c. Gebrekidan v. City of Clarkson, 298 Ga. 651 (2016)

      Rather than relying on this Court’s precedent that specifically addresses cash

payouts for successful plays on otherwise BFCOAMs, the Court of Appeals

erroneously relied on Gebrekidan, a decision inapplicable to the issues here.

Gebrekidan concerned whether state law preempted a local ordinance. 298 Ga. at

651. This Court in Gebrekidan in no way addressed, much less analyzed, illegal

use of purported BFCOAMs or the interplay between the different state gambling

statutes. In Gebrekidan, the defendant was convicted in municipal court of

violating a local city ordinance that prohibited BFCOAMs in retail stores that sell

alcohol. Id. at 651. On review, this Court only considered and decided whether

the State’s statutory scheme regulating BFCOAMs (which does not prohibit all


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alcoholic beverage licensees from allowing BFCOAMs on the premises)

preempted the city’s ordinance (which did). Id.

      In its analysis, this Court noted the comprehensive, but not exclusive, state

regulations for BFCOAM businesses in O.C.G.A. § 50-27-70 to 50-27-104. Id. at

656-57. This Court also noted that use of BFCOAMs is protected from Georgia’s

criminal laws against gambling if the BFCOAMs fit the exception in O.C.G.A. §

16-12-35. Id. at 656. This Court gave examples of misuse of the machines and

examples of penalties for certain misuses:

      It is a crime to misuse [BF]COAMs, such as by paying cash for
      successful plays, and there are numerous penalties for violating other
      provisions of the complex statutory scheme, such as provisions
      requiring the filing of reports. See O.C.G.A. §§ 16-12-35, 50-27-85.

Id. at 657 (emphasis added). According to this Court’s own language, these are

simply examples and are not the exclusive crimes or penalties associated with the

misuse of purported BFCOAMs. Gebrekidan definitively does not conclude that

paying cash for successful plays on a BFCOAM is punishable only under

O.C.G.A. § 16-12-35.

      Gebrekidan did not concern illegal use of otherwise BFCOAMs; it did not

concern cash payments for winning plays; it did not concern illegal gambling; it

did not concern whether cash payments may be evidence of commercial gambling;

it did not concern the interpretation of the state’s gambling laws. In sum, this

Court in Gebrekidan did not analyze, decide, find, conclude or otherwise make a
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definitive statement on issues relevant here. Thus, the Court of Appeals’ reliance

on that case to support its proposition that making cash payouts for winning plays

on BFCOAMs cannot be evidence to support felony charges under Georgia’s

commercial gambling laws is improper and distorts the law.

    d. Patel v. State, 341 Ga. App. 419 (2017) (Patel II)

       The Court of Appeals decided Patel II more than a year after Gebrekidan.

See Gebrekidan, 298 Ga. 651 (2016); Patel II, 341 Ga. App. 419 (2017).8 Not only

did the Patel II panel have the benefit of Gebrekidan before it made its decision,

the appellant in Patel II relied on Gebrekidan in support of his unsuccessful

arguments that cash payments could only constitute a misdemeanor offense under

O.C.G.A. § 16-12-35. See Brief for Appellant at 8, 13-14, Patel II (No.

A17A0067). Because the holdings in Gebrekidan did not fit that case, as they do

not fit here, Gebrekidan did not affect Patel II.

       In Patel II, the Georgia Court of Appeals reviewed the trial court’s

conclusion that misusing otherwise BFCOAMs by giving players cash and lottery

tickets for winning games was sufficient conduct to support the State’s forfeiture

action. The Court of Appeals agreed. Patel II, 341 Ga. App. at 419-20. The

Court of Appeals held that the trial court did not err in approving the State’s

forfeiture because the defendants’ actions violated the gambling laws of

8
 This Court decided Gebrekidan in March 2016. The Court of Appeals decided
Patel II in May 2017. This Court denied certiorari of Patel II in October 2017.
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Georgia—effectively concluding that the safe harbor exception did not apply:

“[T]hese actions clearly violated the gambling laws of Georgia, which prohibit

cash payouts for winning games on machines when the winnings are determined

by chance even if they involve an element of skill.” Id.

      Under the Court of Appeals’ statutory analysis here, the Patel II appellate

panel could not have upheld the forfeiture because the consequences for paying out

cash as winnings would have been limited to the misdemeanor offenses in

O.C.G.A. § 16-12-35 (e) through (g), which do not include forfeiture.

      Additionally, the appellant in Patel II petitioned this Court for certiorari on

the specific basis that the Court of Appeals’ decision went against this Court’s

holding in Gebrekidan. See Petition for Writ of Certiorari for Appellant at 5, Patel

II (No. S17C1777). This Court denied appellant’s petition for certiorari. As in

Patel II, Gebrekidan is not relevant to issues here regarding the misuse of

otherwise BFCOAMs for illegal gambling purposes.

      While the Court of Appeals correctly acknowledges that “O.C.G.A. § 16-12-

35(e) through (g) expressly governs the consequences for making cash payouts”

and that O.C.G.A. § 16-12-35(e) through (g) “plainly states that the misuse of a

[BF]COAM by paying cash for winning plays constitutes a misdemeanor,” Bartlett

at 12, 14, none of these provisions provide an exclusive consequence for cash

payouts or related activity. Thus, to conclude that this conduct cannot also provide


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an evidentiary basis, at least in part, for separate violations of Georgia’s other

gambling laws is inherently inconsistent with Supreme Court and prior Court of

Appeals decisions involving the interplay between Georgia’s gambling laws and

the misuse of otherwise BFCOAMs by making cash payments for winning plays.

   5. Other Statutory Regulations Confirm that Cash Payments for Plays on
      Otherwise BFCOAMs Are Not Protected from Prosecution Under
      Georgia’s Gambling Laws.

      The legal operation of BFCOAMs is regulated by O.C.G.A. § 50-27-70 et.

seq., and enforced by the GLC. These statutes include findings by the General

Assembly that the “ability to operate a bona fide coin operated amusement

machine business in this state constitutes a privilege and not a right,” and that the

State needs to “prevent the unregulated operation of the bona fide coin operated

amusement machine business,” and enact protections “which will aid in the

enforcement of the tax obligations that arise from the operation of bona fide coin

operated amusement machine businesses as well as prevent unauthorized cash

payouts.” O.C.G.A. § 50-27-70(a) (emphasis added).

      To advance the General Assembly’s stated purpose “to prevent unauthorized

cash payouts,” the statute states that successful players of BFCOAMs can receive a

legal award or no award at all:

      “Bona fide coin operated amusement machine” means every machine
      of any kind or character used by the public to provide amusement or
      entertainment whose operation requires the payment of or the
      insertion of a coin, bill, other money, token, ticket, card, or similar
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      object and the result of whose operation depends in whole or in part
      upon the skill of the player, whether or not it affords an award to a
      successful player pursuant to subsections (b) through (g) of Code
      Section 16-12-35….

 O.C.G.A. § 50-27-70(b)(2)(A) (emphasis added).

      Moreover, O.C.G.A. § 50-27-70 goes on to define Class B BFCOAMs (the

class at issue here) as requiring that awards for successful plays comply with the

noncash award options permitted under O.C.G.A. § 16-12-35(d):

      “Class B machine” means a bona fide coin operated amusement
      machine that allows a successful player to accrue points on the
      machine and carry over points won on one play to a subsequent play
      or plays in accordance with paragraph (2) of subsection (d) of Code
      Section 16-12-35 and:
         (A) Rewards a successful player in compliance with the
         provisions of paragraphs (1) and (2) of subsection (d) of Code
         Section 16-12-35; and
         (B) Does not reward a successful player with any item prohibited
         as a reward in subsection (i) of Code Section 16-12-35 or any
         reward redeemable as an item prohibited as a reward in subsection
         (i) of Code Section 16-12-35.

O.C.G.A. § 50-27-70(b)(4) (emphasis added).

      The General Assembly also stated that nothing in Article 3 of Chapter 27 of

Title 50 (which provides for the regulation of BFCOAMs) “shall be construed or

have the effect to license, permit, authorize, or legalize any machine, device, table,

or bona fide coin operated amusement machine the keeping, exhibition, operation,

display, or maintenance of which is in violation of the laws or Constitution of

this state.” O.C.G.A. § 50-27-83 (emphasis added).


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      The statutes do not exempt the use of BFCOAMs from Georgia’s

commercial gambling laws by section 16-12-35(d) or sections 50-27-70 et. seq. if

cash payouts are made—because the machines are no longer BFCOAMs if cash is

paid out. If the law is interpreted to preclude prosecution under the gambling laws

when a player receives cash payouts for successful plays, then the language of the

sections quoted above are rendered worthless, which courts cannot do. See

Goldberg v. State, 282 Ga. 542, 546-547 (2007) (“[I]t is a basic rule of

construction that a statute or constitutional provision should be construed to make

all its parts harmonize and to give a sensible and intelligent effect to each part, as it

is not presumed that the legislature intended that any part would be without

meaning.” (citation and punctuation omitted)).

   6. The Court of Appeals’ Conclusion Undercuts the Purpose of Regulation
      of BFCOAMs and Lends to Absurd Results.

      The purpose of regulating BFCOAMs is to “aid in the enforcement of the tax

obligations that arise from the operation of bona fide coin operated amusement

machine businesses as well as prevent unauthorized cash payouts.” All Star, Inc.,

332 Ga. App. at 12 (emphasis added); O.C.G.A. § 50-27-70. Indeed, deterring

misuse of BFCOAMs by making cash payments is so important that the General

Assembly provided that a person who makes even one cash payment to another

person for successful plays on BFCOAMs, no matter how small the monetary

award, is guilty of a misdemeanor. See O.C.G.A. § 16-12-35.
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      The Legislature specifically added these misdemeanor offenses to

supplement the other commercial gambling offenses in the context of misuse of

BFCOAMs, not to replace the other gambling offenses for all situations involving

the misuse of BFCOAMs by providing winning players with cash awards. Without

the misdemeanor offense there is no criminal penalty for the person who commits

the physical act of the cash payout, but only for the individuals operating or

profiting from gambling devices. Compare O.C.G.A. § 16-12-22 with O.C.G.A. §

16-12-35. In other words, by including certain misdemeanor offenses in O.C.G.A.

§ 16-12-35, the Legislature sought to add penalties for BFCOAM cash payouts,

not limit them.

      Under the Court of Appeals’ interpretation of the gambling statutes,

however, those who intentionally operate gambling places and illegally make

millions of dollars would only be subject to misdemeanor charges, as long as those

individuals misuse BFCOAMs, as opposed to other gambling devices, in the

process. Under the Court of Appeals’ analysis, misusing BFCOAMs would shield

a commercial gambling operator from felony charges. A misdemeanor slap on the

wrist is no deterrent to prevent paying cash for plays on otherwise BFCOAMs; it

would be a small price to pay for being able to illegally make and keep millions of

dollars, even after prosecution. The Court of Appeals’ interpretation provides a




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loophole for illegal gambling, which does not support the General Assembly’s

intent to deter illegal gambling and Georgia’s Constitution prohibiting it.

      In addition, consider the other prohibitions laid out in O.C.G.A. § 16-12-

35(h) and (i), which prohibit out-of-store redemptions or redemptions for firearms,

alcohol, or tobacco, respectively. O.C.G.A. § 16-12-35 (h), (i). Anyone who

commits multiple of these violations shall be guilty of a felony. O.C.G.A. § 16-12-

35(g.1). Yet under the Court of Appeals’ analysis of O.C.G.A. § 16-12-35, a

player can walk up to the redemption counter after successfully playing an

otherwise BFCOAMs, redeem his winnings for cash and then use that cash to

purchase firearms, alcohol, and tobacco at the same location. As a result, the

person who essentially gave a player contraband items in exchange for lineup

game machine winnings gets to skirt the law and could forever avoid felony

charges because that person technically gave money for winning plays, which the

Court of Appeals decided could only constitute a misdemeanor offense.

                                  CONCLUSION

      This Court must correct the Court of Appeals’ misconstruction of the

gambling statutes because its statutory interpretation is not only wrong, but also

unconstitutional. The decision casts doubt on whether the machines at issue here

could ever fit into Georgia’s legal gambling confines. The Court of Appeals

decision also splits from prior existing precedent from this Court, prior Court of


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Appeals panels, and it clashes with other statutes. Moreover, the Court of

Appeals’ reading of the gambling statutes does not deter cash payments as the

General Assembly intended. This Court should revisit the decision below and

clarify the gambling laws in Georgia.



      Respectfully submitted, this 5th day of August 2019.

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                        CERTIFICATE OF SERVICE

      I certify that on August 5, 2019, I electronically filed the within and

foregoing PETITION FOR WRIT OF CERTIORARI via the SCED E-filing

system, with notice of same being served by U.S. Mail, addressed to the following:


          Michael J. Bowers                         Charles E. Cox, Jr.
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                                            Georgia Bar No. 298555
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                   Exhibit A
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                               FIFTH DIVISION
                              MCFADDEN, P. J.,
                           MCMILLIAN and GOSS, JJ.

                    NOTICE: Motions for reconsideration must be
                    physically received in our clerk’s office within ten
                    days of the date of decision to be deemed timely filed.
                                http://www.gaappeals.us/rules


                                                                      June 25, 2019




In the Court of Appeals of Georgia
 A19A0426. BARTLETT v. THE STATE.

      MCMILLIAN, Judge.

      Following a jury trial in February 2018, Ronnie Bartlett was convicted of one

count of commercial gambling, one count of possession of a gambling device, and

one count of keeping a gambling place. Bartlett now appeals, asserting that the trial

court erred (1) in its charge to the jury; (2) in denying his motion for general demurrer

and directed verdict of acquittal; (3) in denying his motion in limine to exclude

certain evidence; and (4) in denying his motion to disqualify counsel. For the reasons

that follow, we find the evidence was insufficient as a matter of law to support his

convictions and therefore reverse.
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      Viewed in the light most favorable to the jury’s verdict,1 the evidence adduced

at trial shows that Bartlett co-owned a restaurant called Captain Jack’s Crab Shack

(“Captain Jack’s”) in Byron, Georgia with his wife. Captain Jack’s included both a

dining area and a separate game room that contained nine coin operated amusement

machines (“COAMs”).2 In early 2015, Detective Melanie Bickford of the Byron

Police Department began investigating Captain Jack’s following complaints of

“illegal gambling.” Bickford was assisted by Officer Christine Welch, who worked

undercover during the investigation.

      Bickford and Welch began their investigation by going to a gas station in

another town to teach themselves how to play a COAM machine because neither had

ever played before.3 First, they inserted a twenty dollar bill into the machine, which

gave them a certain amount of credits. They were then able to raise or lower how

much they wanted to bet on each spin. The display screen had three digital slot-

machine type wheels with pictures of fruits or numbers on them. They then hit a “spin




      1
          Jackson v. Virginia, 443 U.S. 307 (99 SCt 2781, 61 LE2d 560) (1979).
      2
          Customers were also allowed to eat and smoke in the game room.
      3
          Bickford also watched YouTube videos depicting COAMs.

                                          2
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button” and another button to “nudge” the wheels up or down in order to make a

winning combination.

      After spending less than one hour to become familiar with the machines at the

gas station, Welch went to Captain Jack’s to play the COAMs there on six different

dates in March and April 2015. Her mission was to secretly record portions of her

play and attempt to receive cash payouts. On the first occasion, she put thirty dollars

into the COAM.4 After putting in the cash, she chose which game to play and then

placed her wager, which had to be between twenty-five cents and five dollars. After

spinning the wheels, she had to press a separate button to lower the wheels to make

three matches across the middle of the screen. When she finished playing, she hit a

button to end the play and then walked to a bar where someone handed her a

certificate for the amount of credits she had earned. She then took the certificate to

the cash register in the front of the restaurant where she received a two-dollar lottery

ticket and the remaining amount in cash.

      Welch returned two days later, played sixty dollars, and won one hundred

ninety dollars. She was given a forty dollar certificate and a one hundred fifty dollar

certificate. When she brought the certificates to the front, she received a two-dollar

      4
          The State played the video recording of this visit for the jury.

                                            3
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lottery ticket, a five-dollar lottery ticket, and the remainder in cash. The third time,

she played sixty dollars and cashed out with forty dollars, again receiving a two-

dollar lottery ticket and the remainder in cash. This pattern continued at each of her

visits. According to Welch, there were times that she won without having to hit the

button to lower or raise the wheels, but she could not recall which of the nine

COAMs it had happened on or how many times it had happened. One of the videos

she recorded appeared to show another patron playing a COAM where she won

without having to nudge the wheels.

      On May 5, 2015, Byron police obtained a search warrant for Captain Jack’s and

Bartlett’s personal residence. Five agents from the Georgia Lottery Commission were

onsite during the search of Captain Jack’s. Police seized the COAMs from Captain

Jack’s and approximately $24,000 in cash from Bartlett’s home. Bartlett was

ultimately charged in October 2016 with eight counts, including four counts of

racketeering, one count of false writings, one count of commercial gambling, one

count of possession of a gambling device, and one count of keeping a gambling place.

      At trial, in addition to Welch’s testimony regarding the COAM operations, the

State presented the testimony of Karen Briscoe, who had frequented Captain Jack’s

over the years. Briscoe testified that she had played the COAMs and would redeem

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her winnings for a combination of lottery tickets, meal vouchers, and cash. She also

explained that as far as she could recall, she had always moved the wheels up or down

in order to win and had never won without having to “nudge” the wheels.

      Tony Williams, one of the Georgia Lottery Commission5 (“GLC”) inspectors

present when law enforcement executed the search warrant at Captain Jack’s,

confirmed that Bartlett had a valid location license.6 He also determined that between

October 2013 and May 2015, $1,235,268 in cash was placed in the COAMs at

Captain Jack’s, and Bartlett reported a net profit of $398,176.7 Following the




      5
        The GLC began regulating COAMs in July 2013; prior to that time, COAMs
were regulated by the Department of Revenue. Approximately 22,000 COAMs are
certified and licensed to operate in Georgia by the GLC. Each machine is connected
to a computer that monitors the money going into and out of the machines.
      6
        Williams explained that a “master license holder” actually owns the machine
whereas a “location license holder” enters into an agreement with a master license
holder to use the machine. A single business cannot be both the master license and
location license holder. To become a license holder, the business owner must apply
to the GLC. The GLC also regulates and licenses the manufacturers of COAMs.
Neither the master license holder nor the manufacturer of the COAMs at issue here
were cited for any violations.
      7
         The difference of $837,092 was the amount of redemption received by the
players of the COAMs. The net profit is split, by law, with the master license holder,
after the GLC takes five percent the first year, with the percentage to the GLC going
up each year thereafter until a cap of ten percent.

                                          5
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inspection undertaken as part of the seizure, it was determined that the COAMs were

operating only the appropriate types of games and displayed the required notices.

      The State also presented the testimony of Christopher Edwards, an expert in

forensic accounting, who testified that after examining Captain Jack’s business

records, he identified $4,400,000 in cash received via the COAMs from October 2013

through May 2015, with $2,400,000 unaccounted for in the records. He concluded

that the COAM redemptions must have been paid out in cash.8

      The State also introduced evidence of prior transactions through Sergeant

Ashley Greer,9 who testified that in 2010 he had previously investigated Captain

Jack’s to determine whether it was paying out cash redemptions. Through the use of

a confidential informant, Greer determined that Captain Jack’s had paid out between

fourteen dollars and twenty-nine dollars in cash, along with a small sundry item, on

three separate occasions. At the conclusion of his investigation, law enforcement



      8
        Edward conceded on cross-examination, however, that he had not taken into
consideration certain variables, such as the required split with the master license
holder or the “cashless” ATM used in the restaurant. In addition, he included gross
receipts from other local businesses owned by Bartlett in reaching his figures but did
not use the Bartlett’s individual tax returns in doing so.
      9
       The trial court first gave a limiting instruction to the jury, explaining that the
evidence was to be considered only for the purpose of proving Bartlett’s intent.

                                           6
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seized approximately $3,000 in cash from the restaurant’s register, but did not seize

the COAMs or make any arrests before closing the case.10

       The defense presented the testimony of several expert witnesses. Nick Farley,

who owns one of the three independent testing laboratories used by the GLC, testified

as an expert in electronic gaming testing, certification, and compliance. Farley

explained that COAMs, by definition, have to have some skill. Before the GLC will

consider granting a license, the COAM must be tested and certified by an independent

testing laboratory. The testing ensures both that the game requires some skillful

action on the part of the player and that it is communicating correctly with the GLC.

       In this case, Farley examined the COAMs seized from Captain Jack’s and

found no evidence of tampering. He also performed an analysis of the software that

was used in each of the COAMs. He confirmed that all of the games were “nudge

games,” meaning a game in which wheels spin and stop on a non-winning

combination before the player identifies whether a winning combination is possible

by moving one of the available wheels up or down to align the symbols in a winning

       10
         A former Captain Jack’s employee also testified that when she worked there
in 2010, patrons who finished playing a COAM would print a ticket from the machine
and bring it to her to get a gift certificate. They would then take the gift certificate to
the front register, purchase something like lighters, candy, or food from the
restaurant, and then receive the remainder of the certificate amount in cash.

                                            7
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pattern. Based on his analysis, none of the COAMs seized allowed for a winning

combination without the player making some move to align the symbols.11 He

explained that when Welch thought she had played a winning combination without

any further player input, what had actually occurred is that the game offered what is

called a “bonus feature,” which is presented as a free game or a continuation of play.12

He was able to discern the “free game” symbol on the video Welch had recorded of

her play.

      Barlett also called Mark Nizdil to testify as an expert in the gaming industry.

He explained that every COAM in the state continuously communicates data to the

GLC, including how much money goes into the machine, the amount of plays that are

made, and how many prizes are issued. Through his inspection, he determined that

the games required some player assistance to make a winning combination. He

explained that if anyone had attempted to manipulate the game in any way, the




      11
       Bartlett also introduced copies of the documents certifying that the machines
were bona fide COAMs.
      12
        So in a game where the player nudged a symbol into a winning combination,
the game will occasionally offer a bonus play and continue the play with no
additional cost and then seemingly award a prize without further player interaction.

                                           8
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machine would have created a different signature number that would not connect to

the GLC’s required communication system.13

      The jury convicted Bartlett of only the three commercial gambling charges. The

trial court sentenced Bartlett to a total of five years, with two to be served in

confinement. This appeal followed.

      1. We turn first to Barlett’s assertion that the trial court erred in denying his

motion for directed verdict of acquittal on Counts 5, 6, and 7. We review the denial

of a motion for a directed verdict of acquittal under the same standard as for

determining the sufficiency of the evidence to support a conviction. Smith v. State,

304 Ga. 752, 754 (822 SE2d 220) (2018). “The evidence is sufficient as a matter of

law if, when viewed in the light most favorable to the verdict, a rational trier of fact

could find all the essential elements of the crimes charged beyond a reasonable

doubt.” (Citation and punctuation omitted.) Pugh v. State, 280 Ga. App. 137, 137

(633 SE2d 439) (2006).



      13
         Bartlett also called John Corn, an expert in state and local taxation, to rebut
the State’s methodology in determining Captain Jack’s accrual of sales and use tax.
Corn concluded that Captain Jack’s would not be required to accrue and remit to the
State use tax resulting from its payment of cash as a redemption for the COAM gift
certificates because cash is not tangible personal property.

                                           9
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      Count 5 of the indictment charged Bartlett with committing the offense of

commercial gambling in violation of OCGA § 16-12-22 (a) (1).14 Count 6 charged

Barlett with committing the offense of possession of a gambling device or equipment

in violation of OCGA § 16-12-24 (a).15 Count 7 charged Barlett with committing the

offense of keeping a gambling place in violation of OCGA § 16-12-23 (a).16 The State

contended that the machines seized from Captain Jack’s are “gambling devices,”

operated in violation of the commercial gambling statutes. Thus, the pivotal question

is whether the seized machines are commercial gambling devices or COAMs.

      As previously explained by our Supreme Court, commercial gambling is illegal

in Georgia, but “OCGA § 16-12-35 creates an exception to Georgia’s criminal laws


      14
        OCGA § 16-12-22 (a) (1) provides that “[a] person commits the offense of
commercial gambling when he intentionally . . . [o]perates or participates in the
earnings of a gambling place[.]”
      15
        OCGA § 16-12-24 (a) provides that “[a] person who knowingly owns,
manufactures, transfers commercially, or possesses any device which he knows is
designed for gambling purposes or anything which he knows is designed as a
subassembly or essential part of such device is guilty of a misdemeanor of a high and
aggravated nature.”
      16
         OCGA § 16-12-23 (a) provides that “[a] person who knowingly permits any
real estate, building, room, tent, vehicle, boat, or other property whatsoever owned
by him or under his control to be used as a gambling place or who rents or lets any
such property with a view or expectation that it be so used commits the offense of
keeping a gambling place.”

                                         10
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against gambling for certain coin operated games and other devices designed and

manufactured for bona fide amusement purposes only, which are comprehensively

regulated by [a separate title of the Georgia Code] in OCGA §§ 50-27-70 to 50-27-

104.” Gebrekidan v. City of Clarkston, 298 Ga. 651, 656 (3) (a) (784 SE2d 373)

(2016). OCGA § 50-27-70 (b) (2) (A) defines a bona fide coin operated amusement

machine as:

      every machine of any kind or character used by the public to provide
      amusement or entertainment whose operation requires the payment of
      or the insertion of a coin, bill, other money, token, ticket, card, or similar
      object and the result of whose operation depends in whole or in part
      upon the skill of the player, whether or not it affords an award to a
      successful play pursuant to subsections (b) through (g) of Code Section
      16-12-35, and which can be legally shipped interstate according to
      federal law.


(emphasis added).

      The State’s theory at trial was that the COAMs in Captain Jack’s were

effectively converted into illegal gambling devices for two reasons. First, the State

relied upon Welch’s testimony that she was able to complete a winning spin without

having to nudge the wheels, thus removing the element of player skill required of a

bona fide COAM. In addition, the State asserted that because cash payments were

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given to patrons in exchange for the certificates earned from the COAMs, the

COAMs should be treated as illegal gambling devices. Both theories fail.

      The State conceded at oral argument that there is no evidence that Bartlett

tampered with the COAMs or otherwise did anything to remove the element of player

skill. The commercial gambling offenses Bartlett is charged with are not strict

liability crimes. Rather, they require that the defendant intentionally operate or

participate in the earnings of a gambling place (OCGA § 16-12-22 (a) (1)), knowingly

own or possess a device that he knows is designed for gambling purposes (OCGA §

16-12-24 (a)), and knowingly permit his property to be used as a gambling place

(OCGA § 16-12-23 (a)). Thus, viewing the evidence in the light most favorable to the

verdict, the State’s evidence, at most, supported that the COAMs malfunctioned in

some way to allow Welch to win without “nudging” the wheels. This is insufficient

to show that Bartlett acted with the requisite criminal intent to support the

commercial gambling charges.

      Turning to the issue of whether the cash payments converted the certified

COAMs into illegal gambling devices, OCGA § 16-12-35 (e) through (g) expressly

governs the consequences for making cash payouts instead of the authorized rewards



                                        12
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listed in OCGA § 16-12-35 (d) (1).17 See Gebrekidan, 298 Ga. at 657 (3) (a) (“It is a

crime to misuse COAMs, such as by paying cash for successful plays, and there are

numerous penalties for violating other provisions of the complex statutory scheme,

such as provisions requiring the filing of reports. See OCGA §§ 16-12-35, 50-27-


      17
           OCGA § 16-12-35 (d) (1) provides:

      Nothing in this part shall apply to a coin operated game or device
      designed and manufactured only for bona fide amusement purposes
      which involves some skill in its operation if it rewards the player
      exclusively with:


      (A) Free replays;


      (B) Merchandise limited to noncash merchandise, prizes, toys, gift
      certificates, or novelties, each of which has a wholesale value of not
      more than $5.00 received for a single play of the game or device;


      (C) Points, tokens, vouchers, tickets, or other evidence of winnings
      which may be exchanged for rewards set out in subparagraph (A) of this
      paragraph or subparagraph (B) of this paragraph or a combination of
      rewards set out in subparagraph (A) and subparagraph (B) of this
      paragraph; or


      (D) Any combination of rewards set out in two or more of subparagraph
      (A), (B), or (C) of this paragraph.

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85.”). And OCGA § 16-12-35 plainly states that the misuse of a COAM by paying

cash for winning plays constitutes a misdemeanor:18

      (e) Any person who gives to any other person money for free replays on
      coin operated games or devices described in subsection (b), (c), or (d)
      of this Code section shall be guilty of a misdemeanor.


      (f) Any person owning or possessing an amusement game or device
      described in subsection (c) or (d) of this Code section or any person
      employed by or acting on behalf of any such person who gives to any
      other person money for any noncash merchandise, prize, toy, gift
      certificate, or novelty received as a reward in playing any such
      amusement game or device shall be guilty of a misdemeanor.


      (g) Any person owning or possessing an amusement game or device
      described in subsection (b), (c), or (d) of this Code section or any person
      employed by or acting on behalf of any such person who gives to any
      other person money as a reward for the successful play or winning of
      any such amusement game or device shall be guilty of a misdemeanor
      of a high and aggravated nature.




      18
        A person who violates OCGA § 16-12-35 is also subject to having his or her
COAM license revoked. See OCGA § 50-27-73 (c). In addition, OCGA § 16-12-35
(g.1) provides that anyone who commits multiple violations of out-of-store
redemptions or redemptions for firearms, alcohol, or tobacco shall be guilty of a
felony.

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(emphasis added). Nowhere in OCGA § 16-12-35 does the General Assembly provide

that a cash payout would convert an otherwise legal COAM into an illegal “gambling

device” that would have subjected Bartlett to prosecution under OCGA §§ 16-12-22

(a) (1), 16-12-24 (a), or 16-12-23 (a).

      Thus, where the State chose not to charge Bartlett with a misdemeanor under

OCGA § 16-12-35 (e), (f), or (g), but instead elected to charge him under the

commercial gambling statutes that COAMs are specifically exempted from, the

evidence was insufficient as a matter of law to convict him of Counts 5, 6, and 7.

Because the evidence is insufficient to enable a rational trier of fact to find Bartlett

guilty beyond a reasonable doubt of the commercial gambling charges, it follows that

the trial court erred in denying Bartlett’s motion for a directed verdict of acquittal.

See Everritt v. State, 277 Ga. 457, 460 (588 SE2d 691) (2003).

      2. Based on our holding in Division 1, we need not reach Bartlett’s remaining

enumerations of error.

      Judgment reversed. McFadden, P. J., and Goss, J., concur.




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                   Exhibit B
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Court of Appeals
of the State of Georgia

                                                             ATLANTA, July 15, 2019

The Court of Appeals hereby passes the following order

A19A0426. RONNIE BARTLETT v. THE STATE.


     Upon consideration of the APPELLEE'S Motion for Reconsideration in the above styled

case, it is ordered that the motion is hereby DENIED.




                                     Court of Appeals of the State of Georgia
                                          Clerk's Office, Atlanta, July 15, 2019.

                                          I certify that the above is a true extract from the minutes
                                     of the Court of Appeals of Georgia.

                                          Witness my signature and the seal of said court hereto
                                     affixed the day and year last above written.

                                                                        , Clerk.
